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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    FTX TRADING LTD., et al.,1                                       )   Case No. 22-11068 (JTD)
                                                                     )
                           Debtors.                                  )   (Jointly Administered)
                                                                     )
                                                                     )   Ref. Docket Nos. 9463, 9465,
                                                                         9468, 9473 & 9475

                                       CERTIFICATE OF SERVICE

I, ARNOLD NGUYEN, hereby certify that:

1. I am employed as a Case Manager by Epiq Corporate Restructuring, LLC, with their
   principal office located at 777 Third Avenue, New York, NY 10017. I am over the age of
   eighteen years and am not a party to the above-captioned action.

2. On March 15, 2024, I caused to be served the:

      a. “Notice of Fifth Interim Fee Applications for the Professionals of the Official Committee
         of Unsecured Creditors for the Period from November 1, 2023 Through and Including
         January 31, 2024,” dated March 15, 2024 [Docket No. 9463],

      b. “Supplement to the Fifth Interim Fee Application of Paul Hastings,” dated March 15, 2024
         [Docket No. 9465],

      c. “Supplement to Fifth Interim Fee Request of Young Conaway Stargatt & Taylor, LLP,”
         dated March 15, 2024 [Docket No. 9468],

      d. “Supplement to the Fifth Interim Fee Application of FTI Consulting, Inc., Financial
         Advisor to the Official Committee of Unsecured Creditors, for Allowance of Compensation
         for Services Rendered and Reimbursement of Expenses for the Period November 1, 2023
         Through January 31, 2024,” dated March 15, 2024 [Docket No. 9473], and

      e. “Supplement to Fifth Interim Fee Request of Jefferies LLC,” dated March 15, 2024
         [Docket No. 9475],

1
 The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX.
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   by causing true and correct copies to be:

      i.   enclosed securely in separate postage pre-paid envelopes and delivered via first class
           mail to those parties listed on the annexed Exhibit A, and

     ii.   delivered via electronic mail to those parties listed on the annexed Exhibit B.

3. The envelope utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                     /s/ Arnold Nguyen
                                                                     Arnold Nguyen
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                    EXHIBIT A
                                                   FTX Trading Ltd.
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                                  Total Creditor count 15




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                    EXHIBIT B
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